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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

CRUX SUBSURFACE, INC.,                            )
                                                  )
                Plaintiff,                        )
                                                  )
v.                                                )    Case No. 2:11-cv-02053-EFM -KMH
                                                  )
BLACK & VEATCH CORPORATION,                       )
                                                  )
                Defendant.                        )

                             JOINT MOTION TO VACATE JUDGMENT

          Plaintiff Crux Subsurface, Inc. (“Crux”) and Defendant Black & Veatch Corporation

(“Black & Veatch”), pursuant to Fed. R. Civ. P. 60(b)(6), jointly file this Motion to Vacate

Judgment, and in support further state:

          1.    The parties have reached a negotiated settlement to all claims and counterclaims

asserted by and between them in this action.

          2.    On October 4, 2011, the Deputy Clerk entered a Judgment (Doc. 35) in

connection with this matter, and on November 22, 2011 and December 13, 2011 the Court

entered certain Orders (Docs. 49 and 51) pertaining to the Judgment.

          3.    Fed. R. Civ. P. 60(b)(6) permits that, upon motion and just terms, judgments and

orders may be set aside for any reason that justifies relief.

          4.    As a condition of the settlement, the parties jointly submit this Motion to Vacate

Judgment pursuant to Fed. R. Civ. P. 60(b)(6), and the parties jointly and respectfully request

that the Court vacate the Judgment and the above-referenced Orders entered in connection with

this matter, so that the intentions of the parties with respect to their settlement may be

effectuated.




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          5.    Upon the Judgment and Orders being vacated, the parties advise that they will

promptly file a Stipulation of Dismissal With Prejudice, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii).

                                    Respectfully submitted,



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